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Exhibit B
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
In re: PHARMACEUTICAL INDUSTRY MDL DOCKET NO. 1456
AVERAGE WHOLESALE PRICE

LITIGATION Civil Action No. 01-12257-PBS

THIS DOCUMENT RELATES TO: Hon. Patti B. Saris
United States of America ex rel. Ven-A-Care
of the Florida Keys, Inc., et al. v. Dey Inc.,

et al., Civil Action No. 05-11084-PBS

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In re: PHARMACEUTICAL INDUSTRY ) MDL DOCKET NO. 1456

AVERAGE WHOLESALE PRICE )

LITIGATION ) Civil Action No. 07-10248-PBS
)

THIS DOCUMENT RELATES TO: ) Hon. Patti B. Saris

United States of America ex rel. Ven-A-Care _)

of the Florida Keys, Inc., et al. v. Boehringer _ )

Ingelheim Corporation, et al. ) Subcategory Case No:

et al., Civil Action No. 05-11084-PBS ) 06-11337-PBS

EXPERT REPORT OF

STEPHEN W. SCHONDELMEYER, PHARM.D., PH.D.
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EXPERT REPORT OF

STEPHEN W. SCHONDELMEYER, PHARM.D., PH.D.

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I. QUALIFICATIONS AND BACKGROUND

1. I make this statement as an independent expert in pharmacy, pharmaceutical
economics, and public policy. I hold the following positions and titles in the College of
Pharmacy at the University of Minnesota; Head, Department of Pharmaceutical Care &
Health Systems; Century Mortar Club Endowed Chair in Pharmaceutical Management
and Economics; Professor of Pharmaceutical Management and Economics; and Director
of the PRIME Institute. I hold a Bachelor of Science in Pharmacy (1974, University of
Missouri-Kansas City), a Doctor of Pharmacy and Residency Certificate (1977,
University of Kentucky), a Master of Arts in Public Administration (1979, Ohio State
University) and a Doctor of Philosophy in Administrative and Social Sciences in
Pharmacy (1984, Ohio State University). A list of my professional memberships,
professional activities, research activities, publications and other scholarly activities,
citation of work in public media, offices held in professional and scientific organizations,
university administrative and service positions, honors and awards, and civic and
community activities is contained in a copy of my most recent curriculum vitae, which is
attached hereto as Attachment “1.”

2. My experience related to pharmaceutical economics and public policy research
spans more than 30 years. I am currently the director of the PRIME Institute at the
University of Minnesota, which was established in 1991 to conduct research related to the
management and economics of the pharmaceutical marketplace. Prior to accepting a
position at the University of Minnesota, I directed the Pharmaceutical Economics

Research Center (PERC) at Purdue University from the time the Center was established

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in 1986 to 1991. PERC also engaged in research related to the economics of the
pharmaceutical marketplace.

3. I was appointed by the United States Congress to the Prescription Drug Payment
Review Commission, an 11-member independent Congressional commission that served
as an advisory body to the U.S. Congress with respect to the outpatient drug program
established by the Medicare Catastrophic Coverage Act of 1988.

4. I provided professional staff analysis for the Kentucky Drug Formulary Council,
Department for Human Resources, Commonwealth of Kentucky from 1975 to 1977. The
Kentucky Drug Formulary Council was the nation’s first governmental body to establish
a generic equivalence standard for determining whether or not brand and generic drug
products could be considered as generic equivalents and, therefore, could be substituted
for one another. This generic equivalence formulary preceded the FDA’s Orange Book.

5. As an academic researcher, my principal areas of interest have included trends in
the pharmaceutical marketplace at all levels, the structure and performance of
pharmaceutical markets, competition between and among brand name and generic drugs,
and the impact of generic competition, including generic entry into brand drug markets. I
have also conducted research on medication use and expenditures by the elderly, drug
coverage under health insurance plans, access and affordability of pharmaceutical
products, in addition to pharmacoeconomic research and policy analysis related to all
aspects of the pharmaceutical marketplace. I have performed pharmacoeconomic
research for many organizations, including, among others, the U.S. Health Care
Financing Administration (HCFA, now known as the US. Centers for Medicare and

Medicaid Services (CMS)), the U.S. General Accounting Office (GAO, now known as

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the U.S. Government Accountability Office), the U.S. Food & Drug Administration
(FDA), the U.S. Congress’s Office of Technology Assessment (OTA), pharmaceutical
firms, professional societies, and various state governments and agencies. I have also led
pharmaceutical research and policy projects at the international level for governments
including Thailand, Singapore, Spain, Canada, Argentina, Venezuela, South Africa,
South Korea, and Taiwan.

6. Based upon my experience in professional consulting and academic research, I
have particular expertise in economic and public policy issues in the pharmaceutical
marketplace. One of the major focuses of my research and work relates to the impact and
role of generic drugs and generic competition. In this context, I am well versed in
assessing the economic impact of generic competition on all levels of the pharmaceutical
marketplace, including on the various channels of distribution and upon consumers, the
behavior of brand manufacturers faced with generic competition, and the mechanisms by
which generic competition is fostered and, by contrast, impeded. Another of the major
focuses of my research and work relates to the reimbursement for prescription drugs
under private and public insurance programs including Medicaid and Medicare. In this
context, I am well versed in assessing the economic impact of reimbursement policies on
all levels of the pharmaceutical market including providers, patients, and payers.

7. My research projects directly related to general issues in the pharmaceutical
market, such as drug prices, competition, generic entry, pricing, market penetration,
channels of distribution, the effects of generic competition on the market for originator
drug products, and other economic and marketing issues, also are listed in my curriculum

vitae (see Attachment “1”).

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8. My experience includes conduct of several studies specifically for the Centers for
Medicare and Medicaid Services (CMS)—the federal agency that oversees both Medicare
and Medicaid. Among the studies conducted for CMS or its predecessor agency (HCFA,
the Health Care Financing Administration) are the following:

a. Report to Congress on Manufacturers’ Prices and Pharmacists’
Charges for Outpatient Drugs Covered by Medicare (Department of
Health and Human Services, June 27, 1989, Stephen W. Schondelmeyer
and Joseph Thomas);

b. Impact of the Medicaid Drug Rebate Program on Expenditures,
Utilization, and Access: Final Report (Health Care Financing
Administration, Contract # XXX-XX-XXXX, DO #3, April 1995, Stephen W.
Schondelmeyer, Judy A. Johnson, Dong Churl Suh, George Wright, Ann
Cherlow, Andrew Asher, Angela Schmitt, Portia DeFilippes, Jon B.
Christianson, John Kralewski);

c. Medicaid and Medicare Drug Pricing: Strategy to Determine
Market Prices (CMS Contract # XXX-XX-XXXX, Task Order 1, August 30,
2004, Stephen W. Schondelmeyer and Marion V. Wrobel);

d. Sales of Drugs and Biologicals to Large Volume Purchasers: Final
Report (CMS Contract #XXX-XX-XXXX, Task Order 1, September 19, 2005,
Marian V. Wrobel, Stephen W. Schondelmeyer, Susan Jureidini, Shuchita
Agarwal, Rachel Sayko, A.C. Doyle);

e. Case Study of the Texas Vendor Drug Program’s Approach to

Estimating Drug Acquisition Cost: Final Report (CMS Contract # 500-00-

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049, Task Order 1, September 26, 2005, Marian V. Wrobel, Stephen W.
Schondelmeyer, Shuchita Agarwal, and Janice Cooper); and
f. Evaluation of Pharmaceutical Pricing Under Medicare Drug
Card: Final Report (U.S. Dept. of Health & Human Services, Assistant
Secretary for Planning and Evaluation, Task Order Contract #100-03-
0106, November 16, 2006, Stephen W. Schondelmeyer, Margaret Artz,
Shriram Parashuram, Lois Olinger, and Sarah Shoemaker).
9. A list of other cases in which I have testified as an expert at trial or by deposition
is attached as Appendix B to my curriculum vitae (see Attachment “1.
10.1 am being compensated for my time spent working on this case at the rate of
$500.00 per hour for time spent testifying, or preparing for testimony, and $350.00 per

hour for all! other time.

II. SCOPE OF REPORT

11. I understand that this action was originally initiated by the plaintiff, Ven-A-Care
of the Florida Keys, Inc. (“Ven-A-Care”). I further understand that the United States has
intervened. The suit names Boehringer Ingelheim Corporation (BIC); Boehringer
Ingelheim Pharmaceuticals, Inc. (BIPI); Roxane Laboratories, Inc.; and Roxane
Laboratories, Inc., n/k/a Boehringer Ingelheim Roxane, Inc. (collectively known as
“Roxane”) as the Defendants. A separate suit names Dey, Inc., Dey L.P., Inc., and Dey
L.P. (collectively known as “Dey”).

12. I have reviewed the United States’ Amended Complaints filed against Roxane and

Dey. The Plaintiffs in the Roxane and the Dey cases allege, among other things, that “The

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defendants have engaged in a fraudulent scheme that has caused the Medicaid and
Medicare programs to pay excessive reimbursement to [defendants’] customers,
including pharmacies, home care pharmacies, and other purchasers of [defendants’]
products. In furtherance of this scheme, the defendants reported false, fraudulent and
inflated drug prices for certain drugs [ ] to several price reporting compendia that the
Medicare and Medicaid programs relied upon to set reimbursement rates for
[defendants’] customers. ”

13.1 have reviewed numerous documents, including some of defendants’ business
records provided as discovery responses in this case, certain documents and records of
the state and federal Medicaid programs, certain documents of the Medicare program,
various deposition testimony and exhibits, literature in the field of pharmaceutical
economics, and other publicly available documents and sources. In addition to those
sources specifically referred to in this Report, all materials I considered in formulating
my opinions are being produced or identified with this report.

14. I have been asked to testify about the following subject matters: an overview of
the pharmaceutical market; an overview of pharmaceutical pricing; a description of the
federal-state Medicaid drug programs; a description of the Medicaid drug rebate
program; a description of Medicare and its programs for covering prescription drugs; a
review of Roxane’s and Dey’s price reporting to the state Medicaid programs and
commercial price databases; and other topics related to pharmaceutical pricing and
reimbursement. Specifically, I have been asked to render an opinion as to the processes

of Medicaid and Medicare programs with respect to drug reimbursement and the role of

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drug manufacturers, including Roxane and Dey, as price reporters in the Medicaid and
Medicare pharmaceutical payment systems.

15. My opinions contained herein are based upon my review of the above-described
documents, as well as upon my qualifications and 30 years of experience described
above. I understand that discovery is ongoing in this case, and as always with an expert
report, I reserve the right to amend and update my opinions based upon additional
information that may be provided to me, including additional discovery, or that may

become known to me by other appropriate means in the future.

I.SUMMARY OF FINDINGS

16. This case involves Roxane and Dey and the prices they reported to the
commercial databases, federal and state Medicaid programs, and Medicare. The time
period covered for the Roxane case includes the period encompassed by the Complaint
“from on or before 1996, and continuing through January 1, 2004, in the case of the
Medicare program, and to the present in the case of the Medicaid program.” (See U.S.
First Amended Complaint, Roxane.) I understand that for drugs other than ipratroprium
bromide, the court has limited the damage period for Roxane to start in 1999. The time
period covered for the Dey case includes the period encompassed by the Complaint
“from on or before December 31, 1992, and continuing through 2004, in the case of the
Medicare program, and to the present in the case of the Medicaid program.” (See U.S.
First Amended Complaint, Dey). The general substance of my opinions is briefly
summarized here. The remainder of the report provides more detailed opinions and the

bases for my opinions.

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17. The bases for my opinions are the documents and testimony I have reviewed in
this litigation, my education and experience as reflected in my curriculum vitae
(Attachment 1) and my accumulated knowledge and understanding of the pharmaceutical
industry, pharmacoeconomics, government health care policy, pharmaceutical
reimbursement policies and practices, and other related areas.

18. The federal and state Medicaid programs, during the operative time frame, used
pricing information reported by drug manufacturers, including Roxane and Dey, to
calculate the estimated acquisition cost for a drug product as a means to reimburse for the
ingredient cost of each prescription. In addition, the Medicare program has used pricing
information reported by drug manufacturers, including Roxane and Dey, to the
commercial price databases as the basis for formulaic calculations of Medicare payments
to providers.

19. The prices reported by drug manufacturers, including Roxane and Dey, to the
commercial drug price databases were used by all, or virtually all, state Medicaid
programs as a basis for the formulaic calculation of the reimbursement amount for
prescriptions provided to Medicaid recipients by pharmacies and providers. The state
Medicaid programs then used this pricing information in a formula to determine, among
other things, the lower of: (1) the estimated acquisition cost plus the dispensing fee, (2)
the maximum allowable cost (MAC) or federal upper limit (FUL) amount plus a
dispensing fee, or (3) the pharmacy’s usual and customary charge to the general public
for the prescription as reported by the pharmacy. Similarly, drug manufacturers’ reported

prices to commercial databases are used by the Medicare program and its Medicare

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contractors in the formulaic calculation of the reimbursement amount for drugs provided
to Medicare recipients by physicians, pharmacies, or other providers.

20. Drug manufacturers, including Roxane and Dey, were aware that the state
Medicaid programs and Medicare based their ingredient cost reimbursements on
manufacturers’ reports of drug product prices to the commercial price databases. Drug
manufacturers, including Roxane and Dey, were aware that state Medicaid programs
intended to use the manufacturer reported prices to commercial price databases to
estimate the prices “generally and currently paid by pharmacies” in the marketplace. This
general intent of state Medicaid programs was published routinely in the annual volumes
of the National Pharmaceutical Council’s publication “Pharmaceutical Benefits Under
State Medical Assistance Programs” (also referred to as the “NPC Medicaid Book”), and
other places. Roxane through BIPI has been a member of the National Pharmaceutical
Council throughout the entire period at issue in this case. Dey was also aware of, and has
referenced, the National Pharmaceutical Council publications on Medicaid program
reimbursement in internal documents and communications as far back as 1995. (Memo
from Dey Laboratories to Beth Raider, Price Alert and Pharmacy Blue Book Update,
May 30, 1995, attachment “Medicaid Rx Reimbursement Report, Drug Topics, February
6, 1995, Source: National Pharmaceutical Council.)

21. Drug product prices had been routinely reported by manufacturers to the drug
price compendia, such as Blue Book (First DataBank), MediSpan, and Red Book during
the time frame of this complaint. The prices reported by drug manufacturers to drug price
compendia have traditionally had a predictable relationship to actual market prices

generally and currently paid by pharmacies in the marketplace, except for instances

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where a manufacturer for its own reasons chose to report prices with inflated
relationships when compared to the actual prices that are generally and currently paid by
pharmacies in the marketplace. This behavior of certain drug manufacturers has resulted
in reported prices, such as AWP, WAC, and DP (as defined in paragraph 23), and their
relationship to actual prices generally and currently paid by pharmacies in the
marketplace, becoming inflated progressively over time.

22. Policymakers and both Medicaid and Medicare program administrators were
unaware of the conduct of certain drug manufacturers whereby reported prices (i.e.,
AWP, WAC, DP and list prices) were inflated well beyond the actual prices in order to
engineer an inflated price spread and to result in inflated reimbursement, including
Medicaid and Medicare reimbursement. Such practices were brought to the attention of
certain government officials by Ven-A-Care and have been examined over time by
various government agencies.

23. To the extent that Roxane and Dey reported prices to the commercial drug price
databases (i.e., the “average wholesale price” (AWP), the “wholesale acquisition cost”
(WAC), the “direct price” (DP), list, catalog or book prices, and other price information)
that were not actual prices, or predictably related to actual prices that Roxane and Dey
knew were generally and currently paid by customers, then Roxane and Dey engaged in
the conduct, described above, whereby some drug manufacturers have caused AWP,
WAC, DP and other price reports to become decreasingly representative of actual prices
generally and currently paid by pharmacies in the marketplace. This behavior has caused
increases in Medicaid and Medicare reimbursement amounts that were unintended by,

and unknown to, the Medicaid and Medicare drug programs.

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24. As described later in this report, the reporting of inflated price information to the
compendial sources (i.e., Blue Book, MediSpan, or Red Book), which Roxane and Dey
knew would result in an inflated AWP being published, also led to the inflation of state
Medicaid and Medicare reimbursement amounts, at least to the extent that Roxane’s and
Dey’s reported prices (i.e, AWPs and/or WACs) inflated the median amount in the AWP
array for the drug products covered by a specific J-code. The Medicare carriers based
their reimbursement levels for Medicare Part B drugs upon the median of the AWPs
published in the Red Book for all, or a substantial period of time, covered by the
complaint. This increased reimbursement amount has also occurred when state Medicaid
programs base reimbursement for drug products upon the “J-code” payment level set by

the Medicare carriers.

IV.OVERVIEW OF THE PHARMACEUTICAL MARKET

25. Prescription drugs are the most widely used method for treating medical and
health-related conditions. In 1996, the total retail prescription sales’ in the U.S. were
reported to be about $72 billion and, by 2006, total retail prescription sales had grown to
nearly $250 billion. The total number of outpatient prescriptions grew from 2.2 billion in
1996 to 3.4 billion in 2006 and with adjustment for mail order prescriptions (that is, 3
months supply per prescription counted as 3 one-month prescriptions) was equal to about
3.9 billion monthly prescriptions. This prescription volume represents about 13

prescriptions per person per year in the United States in 2006.

Total retail sales as defined by IMS Health includes outpatient prescription sales of independent
pharmacies, traditional chain pharmacies, supermarket pharmacies, mass merchandiser pharmacies, and
mail order pharmacies. [IMS Health data as reported by the National Association of Chain Drug Stores
on its website (http://www.nacds.org/wmspage.cfn?parm1=507), May 7, 2007].

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26. The expenditure on prescription drugs is a substantial share of the total national
health expenditures. Outpatient prescription drugs accounted for about 10.1% of national
health expenditures in 2005. [USS. Department of Health & Human Services (DHHS),
Office of the Actuary, National Health Accounts, 2004. Note: The health spending
projections were based on the 2004 version of the NHE released in January 2006 with
data for years from 2005 to 2015 projected]. However, when prescription drug spending
in all other sectors of the national health accounts (i.e., hospitals, physicians and clinics,
long term care, home health, dentists, managed care, active military and military retirees,
public health service, 340B facilities, the Veterans Administration and other settings) is
taken into account, the expenditure on prescription drugs is approximately 17.5% of
national health expenditures.

27. Since before 1990, outpatient prescription drug expenditures have been growing
at a rapid rate. The annual growth rate in prescription drug spending has been in double
digits for nearly all of the 15-year period from 1991 to 2006. Outpatient prescription drug
spending in the 1990s, and the first part of the present decade, has grown considerably
faster than health care spending overall. [U.S. DHHS, Office of the Actuary, National
Health Accounts, 2004 version, released J anuary 2006].

A. Channels of Distribution

28. In a broad sense, the structure of the pharmaceutical market can be described by
two major features: (1) the channels of distribution for prescription drugs, or how the
drug products flow through the market, and (2) the sources of payment for prescription
drugs, or how the dollars flow through the market. These two structural perspectives are

discussed in one of my reports for the Centers for Medicare & Medicaid Services.

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[Schondelmeyer, SW and Wrobel, MV, Medicaid and Medicare Drug Pricing: Strategy
to Determine Market Prices, CMS Contract # XXX-XX-XXXX, Task Order 1, August 30,
2004, pp. 9-13].

29. First, regarding channels of distribution, there are three primary levels in the
distribution channel: (1) manufacturer or marketer, (2) wholesaler, and (3) pharmacy or
other provider. Each of these channels of distribution and its role in the market was
described in my 2004 report to CMS titled Medicaid and Medicare Drug Pricing:
Strategy to Determine Market Prices. [Schondelmeyer and Wrobel, Medicaid and
Medicare Drug Pricing, 2004, pp.9-11]. The following sections are excerpted from that
report:

Channels of distribution for prescription drug products are the pathways that
drug products follow from the pharmaceutical manufacturer to the patient who
ultimately uses the medication. There are three primary levels in the distribution
channel: (1) manufacturers, (2) wholesalers, and (3) providers. Manufacturers
and marketers reported $215.7 billion in revenue from prescription drugs in
2002. The flows of these drug products through various channels of distribution
are depicted in Exhibit 4. [Attachment 2 in this report].

30. The role of manufacturers and marketers in the pharmaceutical market was also
described in my 2004 report to CMS [Schondelmeyer and Wrobel, Medicaid and
Medicare Drug Pricing, 2004, pp. 9-10] as follows:

The manufacturer level is the starting point for prescription drugs as they
begin their movement through the various channels of distribution. Any firm that
manufactures or sells a prescription drug in the United States must hold a new
drug application (NDA) or an abbreviated new drug application (ANDA) issued
by the U.S. Food & Drug Administration (FDA). However, other firms may
market a prescription drug without holding either an NDA or an ANDA, if such a
firm has entered into a licensing agreement with an NDA or ANDA holder.

Every firm that markets a prescription drug in the United States must register
with the FDA to obtain a unique national drug code (NDC) number (11-digits)
for each drug product marketed. The first part of the NDC, the labeler code (5-
digits), uniquely identifies the firm marketing the drug product. The second
segment, the product code (4-digits), identifies a specific strength, dosage form,
and formulation for a given drug product. The third segment, the package code

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(2-digits), identifies package sizes and package types (e.g., bulk, unit dose, or
unit of use). Both the product and package codes are assigned by the firm and
not by the FDA.

Manufacturers or marketers, who want to be assured that the Medicaid
program will cover their drug products, must sign a national drug rebate
agreement with the Secretary of the Department of Health and Human Services
in order for states to receive federal funding for outpatient drugs dispensed to
Medicaid patients. Not all NDC holders participate in the Medicaid Drug Rebate
program. Approximately 544 pharmaceutical companies (or labelers) currently
participate in the Medicaid Drug Rebate Program.

31. The role of wholesalers and distributors in the pharmaceutical market was
described in my 2004 report to CMS [Schondelmeyer and Wrobel, Medicaid and

Medicare Drug Pricing, 2004, pp. 10-11] as follows:

Manufacturers or marketers of prescription drugs most often sell their drug
products to a middleman, or intermediate level, before the drug product reaches
the pharmacy or physician that will provide the drug to the patient. National
wholesalers are the primary intermediate level in the channel of distribution
process accounting for 45.7 percent of prescription drugs ($98.5 billion) in 2002,
(see Exhibit 4) [Attachment 2 in this report], Other intermediate channels of
distribution include chain warehouses with 32.3 percent ($69.8 billion) of the
market, regional and specialty wholesalers with 9.3 percent ($20.2 billion) of the
market, and group purchasing organizations that usually contract with a
wholesaler to perform the distribution function on their behalf. About 12.6
percent of prescription sales by drug manufacturers are made directly to
providers (e.g., physicians or hospitals) or pharmacies.

The principal trade organization representing wholesalers in the United
States is the Healthcare Distribution Management Association (HDMA). In
2002, the HDMA reported that there were more than 72 distributor companies
operating approximately 242 distribution centers.? On average, these distribution
centers handle more than 21,000 different healthcare items. More than one-half
of the items distributed (about 11,000) are prescription pharmaceuticals and
biologics, and the additional items include “over-the-counter and herbal products,
health and beauty aids, medical and hospital supplies, durable medical equipment
and home healthcare items.’”? The three largest wholesalers (Cardinal Health,
AmeriSource Bergen, and McKesson) each have about 32 percent of the national
market and collectively account for 97 percent of the drug sales that flow through
national wholesalers and 83 percent of all wholesalers (national, regional, and
specialty). Wholesalers add a markup and fees to the manufacturer’s drug
product cost to cover the cost of distribution and other services they provide.
The total wholesaler gross margin averaged about 4.3 percent in 2002 with a

° Healthcare Distribution Management Association, 2002 HDMA Industry Profile and Healthcare
Factbook, 2002, p. xi.
3 HDMA, 2002 HDMA Industry Profile and Healthcare Factbook, 2002, p. xi.

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range from 3.7 to 5.5 percent for the 25" and 75" percentile. These costs are
added to the manufacturer’s drug product cost and passed on to the pharmacy or
provider purchasing through a wholesaler.

In addition to full-line national wholesalers, there are also regional and
specialty wholesalers that handle just under 10 percent of manufacturer drug
sales. Regional wholesalers are usually similar to the national full-line
wholesalers, but they typically have only one or a few distribution centers limited
to a relatively small geographic region. Specialty wholesalers, in contrast, may
have a national market presence, but instead limit the types of drug products
stocked to a very narrow set. Specialty wholesalers may focus on generic drugs,
biological agents, or drugs for a specific therapeutic purpose such as oncology,
dialysis, or HIV therapy. Specialty wholesalers may also focus on serving
certain facility types such as long term care pharmacies, home health agencies, or
hospice facilities.

Group purchasing organizations (GPOs) may act on behalf of a group of
providers to negotiate price with drug manufacturers. Most group purchasing
organizations, however, do not ever take possession of, or handle, the drug
product. Instead, GPOs often will contract with a traditional wholesaler to
perform the wholesaling and distribution function on behalf of the GPO and its
members.

A number of large chain pharmacies have developed and operate their own
distribution centers rather than purchasing drug products through traditional
wholesalers. Chain warehouses accounted for 32.3 percent ($69.8 billion) of all
prescription drug sales by drug manufacturers in 2002. Chains that operate their
own warehouses incur expenses similar to those seen by traditional wholesalers
(range from 3.7 to 5.5 percent). When a chain pharmacy performs the
warehousing function in addition to the retail distribution and counseling
functions, the chain does have additional costs similar to those that a wholesaler
would have added to the manufacturer’s drug product cost.

32. The role of pharmacies and providers in the pharmaceutical market was described
in my 2004 report to CMS [Schondelmeyer and Wrobel, Medicaid and Medicare Drug
Pricing, 2004, p. 11] as follows:

The final step in the channel of distribution for pharmaceuticals comes when
the pharmacist or physician provides the drug to the patient. In most cases,
except for mail order pharmacies, this provision of the drug to the patient results
from a face-to-face encounter with the patient. In addition to providing the drug
product, the pharmacist is also responsible for taking steps to assure safe and
effective drug use such as: development of a patient profile to screen for drug
interactions, contraindications, and duplicate therapy; counseling the patient on
appropriate use; and other similar activities. The physician has similar
responsibilities and, in most Part B cases, administers the drug in conjunction
with other services.

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There are a number of types of pharmacies and providers as shown in
Exhibit 4 [Attachment 2 in this report]. Community-based pharmacies accounted
for the largest share (52.6 percent or $113.3 billion) of manufacturer prescription
drug sales in 2002. Community pharmacy includes traditional chain pharmacies
(e.g., Walgreen’s or CVS), mass merchant pharmacies (e.g., Wal-Mart or K-
Mart), food and drug pharmacies (e.g., Kroger or Safeway), and independent
pharmacies (i.e., locally-owned corner drug stores). Mail order pharmacies
accounted for 13.3 percent ($28.7 billion) of manufacturer prescription drug sales
in 2002.

Health plan pharmacies purchased only 1.0 percent ($2.3 billion) of ail
prescription drugs sold by manufacturers. These purchases were made by
managed care plans (HMOs and PPOs) with their own in-house pharmacies
where the health plan takes possession of drug product inventory and dispenses
prescriptions directly to patients. The vast majority of managed care plans
contract with a network of community pharmacies for provision of prescription
drugs or with a pharmacy benefit manager (PBM) to administer the benefit for
the managed care plan.

Other endpoints to the channels of distribution include: clinics and
physicians’ offices (1.0 percent; $2.3 billion); long term care pharmacies (4.4
percent; $9.5 billion); hospital pharmacies (15.9 percent; $34.3 billion); and
government facilities and other government programs (4.4 percent; $9.6 billion),

33. The role of physician-administered drugs in the pharmaceutical market was
described, in part, in my 2005 report to CMS titled Sales of Drugs and Biologicals to
Large Volume Purchasers: Final Report [Sales of Drugs and Biologicals to Large
Volume Purchasers: Final Report (CMS Contract #XXX-XX-XXXX, Task Order 1,
September 19, 2005, Marian V. Wrobel, Stephen W. Schondelmeyer, Susan Jureidini,
Shuchita Agarwal, Rachel Sayko, A.C. Doyle), p. 17]. This study for CMS examined the
purchasing patterns for the top 25 drug products covered by Medicare Part B. These 25
top drug products accounted for nearly two-thirds (63%) of the Medicare Part B drug
expenditures in 2003. The market share by class of trade (type of purchaser) was
determined for each of the 25 top Medicare Part B covered drug products. A summary of
the findings was as follows:

Clinics or hospitals were the primary purchasers of doses in 22 of the 25 study
HCPCs during the third quarter of 2004 (Exhibit 4.1). In addition, sales were
typically split between the clinic and the hospital classes of trade. For 20 of the

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25 drugs, both the clinic and the hospitals (sic) classes of trade each had at least
ten percent of total sales.

The retail classes of trade were the primary purchasers of drug products in two of
the three remaining HCPCs. Federal facilities were the primary purchaser of drug
products in the third remaining HCPC code. Mail service pharmacies, HMOs,
home health care and long term care facilities were never primary purchasers for
any of these 25 drugs.

34. Durable medical equipment (DME) providers serve a unique role in the
distribution of certain types of drug products. The certain drug products referred to here
are those drug products that are typically administered by, or in conjunction with, durable
medical equipment such as inhalation devices, infusion pumps, patient-controlled
analgesic devices, or other types of medical equipment. These drugs are sometimes
referred to as DME drugs and, for eligible patients, they are covered under the outpatient
services component of the Medicare program known as Medicare Part B or under
Medicaid.

35. DME drugs are mostly inhalation and injectable drugs used to treat certain
medical conditions such as various types of respiratory conditions, infectious diseases,
and severe pain.

B. Sources of Payment

36. There are three basic sources of payment for prescriptions: (1) self-pay or cash-
pay individuals, (2) private third party insurance coverage, and (3) public (government)
third party insurance coverage. The role of each source of payment in the prescription
drug market was described in my 2004 report to CMS [Schondelmeyer and Wrobel,
Medicaid and Medicare Drug Pricing, 2004, p. 11] as follows:

Payments for prescription drug products may come from one, or more,
sources including: the patient as an individual (termed “self-pay” or “cash-pay”);
private insurance; public insurance (Medicaid and Medicare); or government
delivered and financed health care. Various prescription drug programs are

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managed by Pharmacy Benefit Managers (PBMs) and engage networks of
pharmacies and providers to deliver prescription drugs. [See Attachment 3 in this
report].

37. The payment for prescriptions through cash or self-pay by individuals was
discussed in my 2004 report to CMS [Schondelmeyer and Wrobel, Medicaid and
Medicare Drug Pricing, 2004, pp. 12] as follows:

Self-pay, or cash, prescriptions represent a shrinking part of the outpatient
prescription market. In 1992, more than one-half (55.6 percent) of all outpatient
prescriptions were self-pay. By 1997, self-pay prescriptions had shrunk to 29.1
percent and in 2002 and 2003 they represent less than 15 percent of outpatient
prescriptions. The dramatic reduction in cash pay prescriptions has also greatly
reduced the pharmacy’s pricing flexibility. The pharmacy has some control over
setting the price for cash pay prescriptions, but it has little control over the prices
paid by public and private third party programs. Although mail order programs,
private PBMs and drug discount cards all claim to compare their prices against
usual and customary retail prices, the disappearance of the cash pay retail
prescription market renders the concept of “usual and customary retail price”
almost meaningless.

38. The payment for prescriptions by private third parties (e.g., insurance and
managed care) was discussed in my report to CMS [Schondelmeyer and Wrobel,
Medicaid and Medicare Drug Pricing, 2004, pp. 12] as follows:

The share of outpatient prescriptions covered in part, or in whole, by private
third party programs has grown substantially over the past decade from 30.1
percent in 1992 to 73.0 percent in 2002 and 2003. Most of these third party
prescriptions are managed through PBMs and networks of pharmacies that have
contracted to participate in these networks. Most pharmacists report that PBMs
have most of the negotiating power in these networks, especially given their
growing market share and the dominance of a few large PBMs.

39. The payment for prescriptions through public third parties (e.g., Medicare and
Medicaid) was discussed in my report to CMS titled [Schondelmeyer and Wrobel,
Medicaid and Medicare Drug Pricing, 2004, pp. 12-13] as follows:

The Medicaid program is the single largest third party program (public or
private) for prescription drug coverage. In 1992, Medicaid paid for 14.3 percent
of all outpatient prescriptions and by 1997 the Medicaid share had dropped to
11.7 percent. The Medicaid share of outpatient prescription(s) has grown again
over the last five years to 13.0 percent of outpatient prescriptions. Medicaid
recipients in some states may pay modest co-payments. However, under certain

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circumstances if the patient can not pay the copay the pharmacy may still be
required to dispense the prescription and the pharmacy may not be able to
recover the lost copay from either the patient or the Medicaid program.

Part B of Medicare paid for approximately 4 percent of total prescription
drug expenditures in 2002. Once the MMA prescription drug benefit is
implemented (January 1, 2006), Medicare (Parts B and D) will become the single
largest third party program easily surpassing the Medicaid program. Medicare
Part B beneficiaries are currently responsible for 20 percent of the cost of their
covered medication, a sum that may be a substantial burden in cases in which
beneficiaries do not have other insurance.

40. Collectively, third party prescriptions (private and government, such as Medicaid)
grew from 70% of the prescription dollars and 67% of the prescriptions in 1996 to 91%
of the prescription dollars and 89% of the prescriptions in 2005. With the institution of
the Medicare Part D prescription drug program in 2006, the public third party share of the
source of payment for prescriptions had a substantial jump, with all third parties (private
and public) now covering the vast majority (greater than 92%) of all prescriptions.
[National Association of Chain Drug Stores (NACDS), The Chain Pharmacy Industry
Profile, annual editions from 1998 to 2005. Data was from IMS Market View, as reported
in Novartis Pharmacy Benefit Report for 1996 to 2001 and from NDC Health (a health
care information company) from 2002 to 2006]. Conversely, the share of prescriptions
paid for entirely by cash or the individual shrank to well under 10% of all prescriptions in

2006.

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V. OVERVIEW OF PHARMACEUTICAL PRICING

41. There have been a number of signals raising concern over drug prices in the
pharmaceutical market in recent years (i.e., since 2001). These signals regarding pricing
behaviors in the pharmaceutical market were succinctly described in my 2004 report to
CMS that was titled Medicaid and Medicare Drug Pricing: Strategy to Determine Market
Prices [Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, p. 2] as

follows:

A number of signals in the market have raised concern about prescription
drug prices and expenditures to the top of the public policy agenda. First,
outpatient drug expenditures in both public and private programs have been
growing at an annual rate of 15 to 20 percent since the mid-1990s—a rate that is
more than double the rate of growth in total health spending (i.e., Medicaid total
expenditures grew 7.7 percent per year from 1997 to 2000).* Second,
prescription drugs are the fastest growing sector of Medicaid programs, which, in
turn, are one of the largest segments of state spending at a time when states are
facing record deficits.” Third, the prices paid for prescription drugs by the
Medicaid and Medicare programs have come under question compared to the
prices paid by other sectors of the market.° For example, most other government
programs (i.e., the Veterans Administration, and the 340B program for federally
qualified facilities) pay less for prescription drugs than do the Medicaid or
Medicare Part B programs, even after accounting for rebates.’ Fourth, there is
evidence that drug manufacturers have ‘gamed’ the pricing policies of both
Medicare Part B and the Medicaid drug rebate program in a manner that creates
economic incentives that lead to increased rather than decreased drug
expenditures.*”:'° Fifth, legislation to cover outpatient prescription drugs under

Gencarelli, Dawn M., Medicaid Prescription Drug Coverage: State Efforts to Control Costs, National
Health Policy Forum, George Washington University, NHPF Issue Brief No. 790, May 10, 2003.

Lav, Iris J. and Johnson, Nicholas, “State Budget Deficits for Fiscal Year 2004 are Huge and Growing,”
Center on Budget and Policy Priorities, revised January 23, 2003; accessed February 3, 2003, at
http://www.cbpp.org/12-23-02stp. pdf.

US House of Representatives, Committee on Energy and Commerce, Subcommittee on Health and the
Subcommittee on Oversight and Investigations, Hearing, September 21, 2001.

Schondelmeyer, Stephen W. “Estimated Relative Price Compared to AWP for Prescription Drugs at
Manufacturer Level,” Chart 4, p.10 as found in von Oehsen, William H., III, Ashe, Marice and Duke,
Kathryn, Pharmaceutical Discounts Under Federal Law: State Program Opportunities, Public Health
Institute, Pharmaceuticals and Indigent Care Program, Oakland, CA, May 2001.

8 ug Drug Makers to Pay $875 Million to Settle Fraud Case,” New York Times, Oct. 4, 2001.

° “AstraZeneca Pleads Guilty in Cancer Medicine Scheme,” New York Times, June 21, 2003.

'° “Bayer Agrees to Pay U.S. $257 Million in Drug Fraud,” New York Times, April 17, 2003.

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Medicare has recently been passed by the US. Congress and is set for an
ambitious implementation schedule over the next year and one-half.!!

42. The prescription drug market is characterized by “reverse, perverse economics”
stemming from, inter alia, the following facts: (1) this is not a normal supply and demand
market, (2) the vast majority of prescriptions are paid for by third party payers, and (3)
different players in the system decide what medication is needed (the physician) and
which particular medication is dispensed (the pharmacist), as well as which drug products
are preferred (the PBMs), and all of these players are different from the ultimate payer
(employer, government or individual) or the patient. There is little price transparency at
most levels of the market. The third party reimbursement system has even led certain
participants in the market to prefer the establishment and maintenance of high prices in
various sectors of the market for their own benefit and to the detriment of the ultimate
payer or patient.

43. Observation of prices in the pharmaceutical market requires an understanding of
the elements, or attributes, that define a specific drug price term and an awareness of the
sources of variation in price in the market.

A. Elements and Attributes of Drug Pricing Terms

44. There are several important and essential elements, or attributes, to any drug price
that must be understood in order to know the meaning of a specific price for a specific
drug product. These elements of a drug price were described in my report to CMS titled
Medicaid and Medicare Drug Pricing: Strategy to Determine Market Prices
[Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 13-14] as

follows:

'! “Medicare Bills Would Add Drug Benefits: Prescription Drug Benefit Is Key To Biggest Changes in 38
Years,” Washington Post, June 27, 2003, p. AO].

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* list or transaction: list prices are published by manufacturers; transaction
prices stem from actual transactions and hence represent both the supply and the
demand side of the market;

* level of the market involved: drug product transactions occur at different levels
in the market such as the manufacturer, wholesaler, or provider (e.g., pharmacy,
physician, hospital, etc.) levels;

* classes of trade eligible for the price: providers are grouped by each
manufacturer into various classes of trade based on the structure of the
pharmaceutical market (e.g., independent pharmacies, chain pharmacies, mail
order pharmacies, long term care pharmacies, hospitals, physicians, etc) and the
manufacturer’s average selling price usually varies across classes of trade;

* type of drug product: drug products may be grouped by their patent and
exclusivity status into three broad groups that have different pricing patterns such
as single source (patent and exclusivity protected brands), innovator multiple
source (off-patent brands), and non-innovator multiple source (generics or
branded generics) drug products;

* adjustments to price that have or have not been taken into account: the
invoice price for drug products may not reflect all adjustments to prices such as
discounts, rebates, purchasing allowances or other forms of economic
consideration;

* source of the price information: price information can be collected from
different sources such as the manufacturer, wholesaler, provider, or a third party
program;

* effective time when price is available: manufacturers determine when and how
much the price of a drug product will change and the providers’ costs are affected
by price changes immediately upon implementation of a price change. The
timing of when third party programs update their price reimbursement files (e.g.,
immediately or based on retrospective data) can have a substantial impact on
providers; and

* relationship to other prices: AWP and WAC are primarily used as benchmark
prices rather than as actual transaction prices, but most other types of prices,

discounts, rebates, and methods of third party reimbursement are expressed in
relationship to one of these benchmark prices (AWP or WAC).

B. Description of Key Drug Pricing Terms

45. There are several key drug price terms commonly used in the prescription
pharmaceutical market in the United States. Discussed here will be the terms: wholesale
acquisition cost (WAC), average wholesale price (AWP), direct price (DP), earned

discounts, and actual acquisition cost (AAC). These pricing terms as they have been used

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in statute or regulation related to Medicaid, Medicare or other third party programs, as
well as other drug pricing terms that serve more specialized roles, are discussed
elsewhere in this report. These drug pricing terms in the context of 2004 were described
in my report to CMS titled Medicaid and Medicare Drug Pricing: Strategy to Determine
Market Prices [Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004,

pp. 14] as follows:

Wholesale Acquisition Cost (WAC). The Wholesale Acquisition Cost (WAC) is
a list price used for invoices between drug manufacturers and wholesalers and is
typically used as a benchmark for all classes of trade without adjustment for
discounts, rebates, purchasing allowances, or other forms of economic
consideration. The WAC is set and published by drug manufacturers with an
effective date and remains in effect until a change in price is published. Some
drug manufacturers have other names for this price such as list price, catalog
price, or book price. In the past decade, WAC was a term that typically included
adjustments for discounts, rebates, purchasing allowances, or other forms of
economic consideration. More recently, WAC has come to mean a list price
before any form of price adjustment. WAC is closer to wholesaler’s actual
acquisition cost than is AWP. However, due to different levels of discounts
across drug products and specific classes of trade, the WAC does not generally
have a reliable relationship to the actual acquisition cost. Within a specific class
of trade, WAC may have a consistent relationship with the actual acquisition cost
for single source brand name (patented and exclusivity protected brands) drug
products, but not for innovator multiple source (off-patent brands) or non-
innovator multiple source (generic) drug products. If WAC is to be used to
estimate a price from wholesaler to provider (i.e., pharmacy, physician, or
others), an adjustment must be made to account for the wholesaler (or chain
warehouse) operating cost and a reasonable profit.

Average Wholesale Price (AWP). The Average Wholesale Price (AWP) is a list
price used for invoices between drug wholesalers and pharmacies or other
appropriate drug purchasers and is typically used as a benchmark for all classes
of trade without adjustment for discounts, rebates, purchasing allowances, or
other forms of economic consideration. The AWP is set directly, and published,
by most drug manufacturers with an effective date and remains in effect until a
change in price is published. Some drug manufacturers argue that they do not set
the AWP, but instead either the wholesaler or the drug price databases set the
AWP. Even when the AWP is actually calculated by a wholesaler or a drug price
database, these sources typically calculate the AWP as a fixed percentage above
the WAC (i.e., typically 20 or 25 percent above WAC for brand name drugs) so
that, in effect, by setting the WAC the drug manufacturer also sets the AWP for a
drug product. AWP has been a term that typically does not include adjustments
for discounts, rebates, purchasing allowances, or other forms of economic
consideration. The AWP is typically 20 to 25 percent above the WAC for brand
name drugs, but may be considerably higher (20 to 70 percent) than WAC for

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generic drugs. Because of different levels of discounts across drug products and
specific classes of trade, the AWP does not generally have a reliable relationship
to the actual acquisition cost. Within the retail class of trade, AWP may have a
consistent relationship with the actual acquisition cost for single source brand
name (patented and exclusivity protected brands) drug products, but not for
innovator multiple source (off-patent brands) or non-innovator multiple source
(generic) drug products.

Direct Price (DP). The Direct Price (DP) is a list price used for invoices
between drug manufacturers and pharmacies or providers and is typically used as
a benchmark for all classes of trade without adjustment for discounts, rebates,
purchasing allowances, or other forms of economic consideration. The DP is set
and published by drug manufacturers with an effective date and remains in effect
until a change in price is published. Many drug manufacturers have a wholesale
only policy and do not sell directly to pharmacies or providers, while other drug
firms establish a direct price and do sell drug product directly. Direct purchases
are often subject to minimum order quantities and, therefore, direct purchases
may not be practical or economically efficient for many purchasers.

Certain direct purchasers (i.e., physicians, but typically not pharmacies) may
benefit from delayed invoice dating (e.g., payment is not due for 60 or 90 days)
from the manufacturer. The DP for some manufacturers is the same as the WAC,
while for others the DP may be slightly higher (by 3 to 5 percent) than WAC.
Because of different levels of discounts across drug products and specific classes
of trade, the DP does not generally have a reliable relationship to the actual
acquisition cost. Within the retail class of trade, DP may have a consistent
relationship with the actual acquisition cost for single source brand name
(patented and exclusivity protected brands) drug products, but not for innovator
multiple source (off-patent brands) or non-innovator multiple source (generic)
drug products. However, use of direct price to estimate pharmacy or provider
acquisition cost must take into account the added cost of acquisition. A larger
share of generic drugs, than of brand-name drugs, is sold direct from the
manufacturer. Because of different levels of discounts, the DP does not have a
reliable relationship to the actual acquisition cost, in general, or for specific
classes of trade.

Earned Discounts. Earned discounts are transactional discounts based on
efficient business practices of the pharmacy or physician purchasing drug
products from either a wholesaler or a drug manufacturer. The earned discount is
usually expressed in terms such as ‘2-10 Net 30’, meaning 2 percent discount off
of the total invoice amount if paid within 10 days and the full invoice amount is
due if paid between 11 and 30 days. Earned discount terms are set by the
wholesaler or the manufacturer and are usually stated on the invoice. In some
cases, manufacturers offer substantially greater delayed invoice payment to
certain classes of trade (e.g., direct physician purchasers) that allow the purchaser
to sell and collect for the drug product before the payment to the manufacturer is
due (e.g., payment is not due for 60 or 90 days). These greatly delayed invoice
terms would not typically be called ‘earned discounts’. Different levels of
‘earned discounts’ and ‘other delayed term discounts’ are available to different
classes of trade. The earned discounts will usually have a reliable relationship to
actual acquisition cost, but not necessarily to AWP or WAC. The treatment of

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earned discounts in estimating actual acquisition costs of a pharmacy or provider
should be consistent with the actual payment terms of a given third party when
reimbursing pharmacies or providers.

Actual Acquisition Cost (AAC). The Actual Acquisition Cost (AAC) is a
transaction price used to describe the price paid by a pharmacy or provider when
purchasing a drug product from either a drug manufacturer or wholesaler. The
invoice price and all on-invoice, as well as off-invoice, adjustments for discounts,
rebates, purchasing allowances, or other forms of economic consideration are
taken into account. This price is the appropriate conceptual basis for the payment
policy.

The AAC is set by the drug manufacturer, but, historically, has not been
published or made public. Some drug manufacturers may have a variety of terms
for specific discounts that are based on class of trade, volume of purchase,
market share movement, preferred formulary status, terms of payment, bundling
of products, and other criteria. AAC is meant to be the net price after all forms
of discount, rebate, purchasing allowances or any other forms of economic
consideration have been taken into account. Arguably the discounts that
contribute to AAC are considered proprietary and confidential by drug
manufacturers. Consequently, the relationship of AAC to either AWP or WAC is
not predictable from public data sources in general, or for specific classes of
trade. For single source brand name drugs that do not typically have discounts
beyond on-invoice ‘earned discounts’, the AAC may have a_ reasonably
predictable relationship to AWP or WAC.

46. The definition and understanding of these, and certain other drug price terms,
should be viewed in historical perspective and in context. As noted above, for example,
in the context of the compendia that have been used as public sources of pricing
information, AWP came to be used as a reference to the price on invoices from the
wholesaler to the pharmacy. I am also aware that Judge Saris has examined the meaning
of the term AWP in the Medicare context and determined that the term should be given
its plain meaning in accordance with established principles of statutory construction. The
historical context should also be considered, for example, in the early 1990s, a report to
HCFA (now CMS) on the adequacy of reimbursement rates to pharmacies provided a

definition of key drug pricing terms. [Adams, Kathleen and David H. Kreling,

Assessment of Adequacy of Reimbursement Rates to Pharmacies and Its Impact on the

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Access to Medication and Pharmacy Services by Medicaid Recipients, HCFA Contract
No. XXX-XX-XXXX, Delivery Order No. 3, August 25, 1993, p.4].
47. This 1993 report to HCFA on pharmacy reimbursement defined the following

drug price terms:

* Actual Acquisition Cost (AAC) — Pharmacist's net payments made to purchase a drug
from any source (e.g., manufacturer, wholesaler) net of discounts, rebates, etc.

* Estimated Acquisition Cost (EAC) — An estimate of pharmacies’ actual acquisition
costs that are made by the States and other third-party payers.

* Maximum Allowable Cost (MAC) — A maximum dollar amount for which the
pharmacist is reimbursed for selected products.

* Average Manufacturer’s Price (AMP) — The average price paid by wholesalers to
manufacturers for products to be distributed to retailers.

* Average Wholesale Price (AWP) — The manufacturer's suggested wholesale price to
the retailer which is listed in either the Red or Blue Book.

* Wholesale Acquisition Cost (WAC) — The wholesaler’s net payment made to
purchase a drug product from the manufacturer, net of purchasing allowances and
discounts.

[Adams, Kathleen and David H. Kreling, Assessment of Adequacy of
Reimbursement Rates to Pharmacies and Its Impact on the Access to Medication and
pharmacy Services by Medicaid Recipients, HCFA Contract No. XXX-XX-XXXX,
Delivery Order No. 3, August 25, 1993, p.4].

48. In this 1993 report to HCFA, the term ‘actual acquisition cost’ had essentially the
same meaning as it did in the 2004 report to CMS. That is, AAC represents the net
transaction price paid by a pharmacy or provider. Similarly, the AWP as described by
the authors of both reports is a price reported, directly or indirectly, by the drug
manufacturer as the suggested price from the wholesaler to the retailer. The relationship
of AWP to actual transaction prices, however, has not been consistent over time or across
types of drug products, such as the use of this term with respect to brand name and
generic drug products.

49. Notably, the definition of WAC appears to have changed over time. In 1993
WAC was, or was believed to be, “the wholesaler’s net payment made to purchase a drug

product from the manufacturer, net of purchasing allowances and discounts.” {|Adams,

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Kathleen and David H. Kreling, Assessment of Adequacy of Reimbursement Rates to
Pharmacies and Its Impact on the Access to Medication and Pharmacy Services by
Medicaid Recipients, HCFA Contract No. XXX-XX-XXXX, Delivery Order No. 3, August
25, 1993, p.4]. By 2004, however, WAC had come to be viewed as a benchmark price
for all classes of trade without adjustment for discounts, rebates, purchasing allowances,
or other forms of economic consideration [MMA; Pub.L. 108-173].

50. The term ‘estimated acquisition cost’ was defined in the 1993 study for HCFA as
a price intended to be an estimate of the pharmacy’s actual acquisition cost. The
Medicaid program has consistently defined estimated acquisition cost as a price concept
that provides a method to estimate the ‘actual acquisition cost’ to the pharmacy or
provider, as described in a later section. This consistent definition of ‘estimated
acquisition cost’ as an estimate of the pharmacy’s actual acquisition cost was first defined
by Medicaid as far back as 1977 and continues to be defined in the same way as recently
as 2006.

C. Definition and Determination of Estimated Acquisition Cost (EAC)

51. Actual drug transaction prices in the market have not been, and still are not,
readily available to third party payers, including government entities, on a routine basis,
and audits to gather that information are extremely expensive and time-consuming and
frequently result in outdated and incomplete information. Consequently, the
development of a price database for payment and reimbursement of prescription drugs
requires some means of estimating acquisition cost for drug products on an ongoing

basis.

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52. The term “estimated acquisition cost” (EAC) was created by Medicaid for use in
the reimbursement of prescription drugs. [42 C.F.R. § 447.301, 10-1-01 Edition]. The
estimated acquisition cost was developed as a way to simplify payment for prescriptions
in a manner that was consistent with the Medicaid program’s intent to pay the actual
acquisition cost for a given prescription drug or as close to the actual acquisition cost as
is feasible. Determining the actual acquisition costs of every prescription would require
auditing literally tens of thousands of prescription drugs on the market and the price of
each drug product to each pharmacy for every time a purchase is made. Such an audit of
actual acquisition costs would be extremely difficult, complex, and very time-consuming
and expensive. Use of audited actual acquisition costs was simply not feasible.

53. The Medicaid program chose to base prescription payments on “estimated
acquisition cost.” The intent and definition of estimated acquisition cost dates as far back
as 1977 as described in an HHS document titled, “Limitation on Payment or
Reimbursement for Drugs: Estimated Acquisition Cost (EAC)." This HHS memo to state
Medicaid directors stated “The intention of the final Medicaid regulations on drug
reimbursement is to have each state’s estimated acquisition cost as close as feasible to the
price generally and currently paid by the provider. The states are, therefore, expected to
set their ingredient cost levels as close as possible to actual acquisition cost.” [“HHS
Action Transmittal, HCFA-AT-77-113 (MMB), December 13, 1977. Subject: Title XIX,
Social Security Act: Limitation on Payment or Reimbursement for Drugs: Estimated
Acquisition Cost (EAC).” as reproduced in National Pharmaceutical Council (NPC),

Pharmaceutical Benefits Under State Medical Assistance Programs, 1983, p. 14].

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54. The term “estimated acquisition cost” (EAC) was further defined as “the price
generally and currently paid by providers for a particular drug in the package size most
frequently purchased by providers.” [NPC, Pharmaceutical Benefits, 1991, p. 51.; 1994,
p.14; 1999, p.4-55]. This description of EAC was reported in the Medicaid compendium
titled Pharmaceutical Benefits Under State Medical Assistance Programs (NPC
Medicaid Book) and published by the National Pharmaceutical Council (NPC). This
description of EAC, emphasizing that this term is supposed to represent a price that is “as
close as feasible to the price generally and currently paid by the provider” or a similar
statement, has been reported in every annual volume of the NPC Medicaid Book from
1979 to 2005-2006. Roxane, an affiliate of BIPI, was aware of, and had access to, this
publication since BIPI has been a sponsoring member of the National Pharmaceutical
Council since 1983 or before. [NPC, Pharmaceutical Benefits, annual volumes, 1983 to
2006, membership list on back cover]. Dey was also aware of, and has referenced, the
National Pharmaceutical Council publications on Medicaid program reimbursement in
internal documents and communications as far back as 1995. (Memo from Dey
Laboratories to Beth Raider, Price Alert and Pharmacy Blue Book Update, May 30, 1995,
attachment “Medicaid Rx Reimbursement Report, Drug Topics, February 6, 1995,
Source: National Pharmaceutical Council.)

55. Because transaction prices were not consistently and publicly available and the
reported AWP, WAC, and/or DP were the only prices consistently available for all, or
virtually all, drug products, most public and private third party programs used
manufacturer-reported AWP, WAC, and/or DP prices, or adjusted versions of these

prices, as their means of estimating acquisition cost for drug products. In other words,

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most private third party and government payers set their payment formulae for estimating
drug product costs as either a certain percent discount off of wholesale to retail prices
(AWP) or a certain percent above the prices from manufacturers to wholesalers (WAC).

56. The potential methods for states, or CMS, to estimate or determine market prices
for prescription drugs were evaluated in a research project I conducted with colleagues
from Abt Associates, Inc. for the Centers for Medicare & Medicaid Services in 2004.
[Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 1-70 plus
Appendices].

57.In conducting our study of methods to estimate acquisition costs for
pharmaceuticals, we set forth several criteria that would assist in determining the validity
and reliability of the estimation method. Ideally, the method used for determining
“estimated acquisition cost” should produce cost information for each drug product with
prices that are: accurate and reliable, generally and widely available, current and up-to-
date, transparent and accessible, adequate compensation to providers and pharmacies,
incentives for pharmacies and providers to supply drugs, and incentives for key parties to
provide data. The nature of each of these criteria, as discussed in my 2004 report to CMS
[Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 18-19], is
discussed briefly:

Accurate and Reliable

The Medicaid and Medicare programs should have access to accurate and
reliable information regarding the actual acquisition costs for prescription drugs
for each channel of distribution. Based on such accurate and reliable cost data,
these programs may decide that the payment rate to pharmacies or physicians
should include a percent markup on brand name drug product costs, and an even
greater markup for generic drugs, but this practice should be an explicit decision
of the policy maker and not an implicit and hidden factor left in the control of the
pharmaceutical manufacturer. In this context, ‘accuracy’ concerns the degree to
which the price used in payment policy is close to, or the same as, the amount
actually paid by a pharmacy or physician for a given drug product. ‘Reliability’

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